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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,

                    Plaintiff,

v.                                                       Case No. 6:12-cr-10085-JTM-4

MARIO CANTU,

                    Defendant.


                           MEMORANDUM AND ORDER

      This matter is before the court on defendant Mario Cantu’s Motion for Early

Termination of Supervised Release (Dkt. 387). Although defendant has requested a

hearing on the motion, the court concludes that a hearing is unnecessary and that, for

the reasons set forth below, the motion should be denied.

      Defendant was charged by indictment with four counts, including one count of

conspiracy to distribute more than 5 kilograms of cocaine and three counts of using a

telephone to facilitate drug trafficking. Dkt. 1. He pled guilty to two of the telephone

counts and was sentenced by Judge Monti L. Belot to 30 months imprisonment,

followed by one year of supervised release. Dkt. 226.

      Defendant completed his custodial sentence and began his term of supervised

release on January 9, 2015. On December 21, 2015, after defendant admitted violating

the conditions of release, this court revoked and reinstated the term for a total of 18

months, with a special condition that defendant reside at a halfway house with a work-

release component. Dkt. 364. Defendant’s admitted violations included using cocaine
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and alcohol, associating with convicted felons, and failing to appear for substance abuse

counseling and testing. Dkt. 374. The defendant admitted, and the court recognized

when it reinstated the term of supervision, that defendant had a long-standing

addiction problem that was his primary obstacle to living as a law-abiding citizen. The

court said at the time that it would consider early termination of supervision if

defendant did well after finishing drug treatment, but that it had to make sure

defendant got through the program successfully, that he had employment, and that

things were going well. Dkt. 374 at 21-22.

       Defendant’s motion for early termination asserts that he has successfully

completed his treatment program, he “has had no violations of his release and has

performed outstandingly,” he has paid off everything he owes, and he has a stable

residence and employment. Dkt. 387 at 2-4. The Government opposes the motion, citing

information from the Probation Office indicating that defendant has failed to comply

with all of the conditions of supervision. Dkt. 388 at 1.

       Section 3583(e) of Title 18 provides that the court may, after considering the

applicable factors in § 3553(e), terminate supervised release at any time after a

defendant has completed at least one year of supervised release if the court “is satisfied

that such action is warranted by the conduct of the defendant released and the interest

of justice.”

       Defendant has satisfied a number of conditions of supervision, but according to

information from the Probation Office, since supervision was reinstated he has also

failed to attend outpatient treatment, twice failed to attend MRT (Moral Reconation

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Therapy), absconded from the halfway house, and submitted a false itinerary. Whatever

mitigating circumstances defendant might suggest pertaining as to these matters, the

court concludes that defendant would best benefit from continued supervision. The

court is not satisfied that early termination is warranted at this point or is in the interest

of justice.

       IT IS THEREFORE ORDERED this 20th day of October, 2016, that defendant’s

Motion for Early Termination of Supervised Release (Dkt. 387) is DENIED.

                                           ___s/ J. Thomas Marten_________
                                           J. THOMAS MARTEN, JUDGE




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